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08/04/2020 09:08 AM CDT




                                                         - 697 -
                             Nebraska Court of Appeals Advance Sheets
                                  28 Nebraska Appellate Reports
                                                  STATE v. KEENAN
                                                Cite as 28 Neb. App. 697



                                        State of Nebraska, appellee, v.
                                         Kristie J. Keenan, appellant.
                                                     ___ N.W.2d ___

                                          Filed August 4, 2020.    No. A-19-806.

                                             supplemental opinion
                  Appeal from the District Court for Cheyenne County, Derek
               C. Weimer, Judge, on appeal thereto from the County Court
               for Cheyenne County, Randin R. Roland, Judge. Formed
               opinion modified. Motion for rehearing overruled.
                 Stacy C. Bach, of Nossaman Petitt Law Firm, P.C., for
               appellant.
                  Douglas J. Peterson, Attorney General, and Nathan A. Liss
               for appellee.
                    Pirtle, Riedmann, and Welch, Judges.
                  Per Curiam.
                  This case is before us on a motion for rehearing filed by the
               appellee, State of Nebraska, concerning our opinion in State v.
               Keenan, 28 Neb. App. 575, ___ N.W.2d ___ (2020). We over-
               rule the motion, but we modify the opinion as follows:
                  In the analysis section, the first sentence of the third para-
               graph is withdrawn and substituted with the following:
                        In McGinn, the assigned errors included that although
                     the district court correctly reversed the county court’s
                     admission of the breath test results, it erred by ruling that
                            - 698 -
     Nebraska Court of Appeals Advance Sheets
          28 Nebraska Appellate Reports
                      STATE v. KEENAN
                    Cite as 28 Neb. App. 697
  there was sufficient evidence other than the breath test for
  the county court to find the defendant guilty of driving
  under the influence.
The remainder of the opinion shall remain unmodified.
                     Former opinion modified.
                     Motion for rehearing overruled.
